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CRITCHLEY, KInuM & DENo1A, LLC
ATTORNEYS AT LAW
75 LIVINGSTON AVENUE - SUITE 303
ROSELAND, NEW JERSEY 07068

MICHAEL CRITCHLEY (973) 422-9200
MICHAEL CRITCHLEY, JR. —
CHRISTOPHER W. KINUM FAX: (973) 422-9700
EDMUND DENOIA web site: www.critchleylaw.com
AMY LURIA

 

CHRISTOPHER L. FOX

August 19, 2019
Via ECF

Honorable Robert B. Kugler

Mitchell H. Cohen Building & U.S. Courthouse
Ath & Cooper Streets

Camden, NJ 08101

Re: United States v. Kristie Masucci
Crim. No.: 18-616 (RBK)

Dear Judge Kugler:

As Your Honor is aware, this firm represents Defendant Kristie Masucci (“Mrs. Masucci”)
in the above-referenced matter. Sentencing is scheduled for 10:00 a.m. on August 20, 2019. We
write to respectfully request the Court strike the Government’s sentencing reply submission and
disregard it in its entirety.

In accordance with the District of New Jersey’s July 7, 2000, Standing Order (‘Standing
Order”) regarding sentencing, the Government submitted its sentencing memorandum on August
5, 2019. Standing Order (f)(1). Mrs. Masucci submitted her sentencing memorandum and motion
for departure and variance on August 9, 2019, one day earlier than required by the Standing Order.
Id. at (f)(2). To ensure the Government had adequate time to respond, Mrs. Masucci e-mailed a
copy of that submission to the Government on August 9, 2019. Pursuant to the Standing Order,
the Government’s reply to Mrs. Masucci’s submission was due no later than August 15, 2019. Id.
at (f)(3). Despite providing the Government an extra day to prepare its reply, the Government did
not submit its reply until 3:28 p.m. on August 19, 2018, approximately eighteen (18) hours before
Mrs. Masucci’s sentencing.

Mrs. Masucci respectfully submits that this Honorable Court must strike the Government’s
sentencing reply submission and disregard it in its entirety. First, the Government’s extremely
tardy reply clearly violates the District of New Jersey’s July 7, 2000 Standing Order regarding
sentencing. The Standing Order even provides that the Court may modify the time periods set
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forth in the Standing Order for good cause shown. /d. at (g). Despite the ability to petition the
Court for an extension of time to submit its reply, the Government chose not to do so. The
Government did not request Mrs. Masucci’s consent to submit a later reply, nor did it so much as
apprise Mrs. Masucci that it intended to submit a reply on the eve of sentencing. The
Government’s blatant disregard for the Standing Order and complete lack of common courtesy to
Mrs. Massuci warrant striking the Government’s reply submission and disregarding it in its
entirety.

Second, the Government’s reply violates the well-established rule prohibiting parties from
raising new issues and/or arguments for the first time in reply papers. See Money v. Bristol-Myers
Squibb Co., No. CIVA 307CV-1100 FLW, 2009 WL 5216987, at *10 (D.N.J. Dec. 30, 2009)
(citing Merling v. Horizon Blue Cross Blue Shield of New Jersey, No. 04-4026, 2009 WL
2382319, *10, n.5 (D.N.J. Jul.31, 2009) (declining to address issue raised for first time in reply
brief)). The Government’s belated reply improperly contains new issues and/or arguments the
Government is raising for the first time. As such, the Court should decline to address any of the
issues and/or arguments inappropriately contained in the Government’s untimely reply
submission.

Third, the Government’s extremely tardy reply severely prejudices Mrs. Masucci.
However, it would not just severely prejudice Mrs. Masucci if the Court addressed or entertained
the Government’s reply, it would violate Mrs. Masucci’s constitutional due process right. Mrs.
Masucci’s counsel should not be expected to respond to issues and/or arguments inexcusably
raised by the Government on the eve of sentencing. Therefore, the Court should strike the
Government’s reply submission and disregard in its entirety.

Thank you for Your Honor’s kind consideration of this request.
Respectfully submitted,
s/ Amy Luria

AMY LURIA

ce: R. David Walk, Jr., Assistant U.S. Attorney (via ECF)
